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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
11
                                        Western Division
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13      SECURITIES AND EXCHANGE                     Case No. 2:19-mc-00023-DSF-JEM
14      COMMISSION,

15                    Applicant,                    ORDER TO SHOW CAUSE WHY AN
                                                    ORDER COMPELLING
16              vs.                                 COMPLIANCE WITH
                                                    INVESTIGATIVE SUBPOENAS
17                                                  SHOULD NOT BE ISSUED
        CHRISTINA MARIE DANIELS, KIM
18      BENNETT, and VALENTINO
        MOCA,
19
                      Respondents.
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               The Applicant, the Securities and Exchange Commission (“SEC”), having filed
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      an Application for an Order to Show Cause and an Application for Order Compelling
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      Compliance with Investigative Subpoenas against Respondents Christina Marie
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      Daniels, Kim Bennett, and Valentino Moca, the Court having considered the
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      Application and documents filed in support thereof, and good cause having been
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      shown, the Court being fully advised in the matter, and there being no just cause for
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      delay:
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     Case 2:19-mc-00023-DSF-JEM Document 3 Filed 02/21/19 Page 2 of 2 Page ID #:362




1           IT IS HEREBY ORDERED that the SEC’s Application for an Order to Show
2     Cause Why an Order Compelling Compliance with Investigative Subpoenas should
3     not be issued is GRANTED.
4           IT IS HEREBY ORDERED that on March 25, 2019, at 10 a.m., or as soon
5     thereafter as the parties can be heard, each of the Respondents shall appear before the
6     Honorable John E. McDermott, United States Magistrate Judge, in Courtroom 640,
7     located at 255 East Temple Street, Los Angeles, California, to show cause, if there be
8     any, why an Order Compelling Compliance with Investigative Subpoenas should not
9     be granted in accordance with the Application filed by the SEC herein.
10          IT IS FURTHER ORDERED that any papers in opposition to the issuance of
11    an Order Compelling Compliance shall be filed by the Respondents with this Court
12    and served on the SEC’s Los Angeles Regional Office at 444 S. Flower Street, 9th
13    Floor, Los Angeles, California 90071, such that they arrive no later than 5:00 p.m.
14    (PST), on March 11, 2019.
15          IT IS FURTHER ORDERED that any reply papers in support of the issuance
16    of an Order Compelling Compliance shall be filed by the SEC with this Court and
17    served on the Respondents such that they arrive no later than 5:00 p.m. (PST), on
18    March 18, 2019.
19          IT IS FURTHER ORDERED that service of this Order to Show Cause, and
20    any papers in opposition to the issuance of an Order Compelling Compliance, or any
21    reply papers, may be accomplished by electronic mail, facsimile, United Parcel
22    Service or personal service.
23
24    Dated: February 21, 2019
25                                    ______________________________
                                      John E. Mcdermott
26
                                      United States Magistrate Judge
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